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 6 ELECTRONICS FOR IMAGING, INC.

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 8                          UNITED STATES DISTRICT COURT

 9                      NORTHERN DISTRICT OF CALIFORNIA

10                                SAN JOSE DIVISION

11

12 THE CHALLENGE PRINTING COMPANY,          Case No. 20-cv-04659-EJD
   INC., a New Jersey corporation,
13                                          UPDATED JOINT TRIAL SETTING
                 Plaintiff,                 CONFERENCE STATEMENT
14
          v.                                Date:            April 14, 2022
15                                          Time:            11:00 a.m.
   ELECTRONICS FOR IMAGING INC., a          Courtroom:       4 — 5th Floor
16 Delaware corporation,
                                            Hon. Edward J. Davila
17             Defendant.
                                            Action Filed: July 13, 2020
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 1          Counsel for plaintiff Challenge Printing Company (“Challenge Printing” or “Plaintiff”) and

 2 defendant Electronics For Imaging Inc. (“EFI” or “Defendant”), have met and conferred and hereby

 3 submit this Joint Trial Setting Conference Statement.

 4 I.       Jurisdiction:

 5          The Parties agree that this Court has subject matter jurisdiction under 28 U.S.C. Section

 6 1332 as the amount in controversy exceeds $75,000 and there is complete diversity of citizenship.

 7 The Parties further agree that this Court has general personal jurisdiction over EFI because its

 8 principal place of business is located within this Judicial District. The Parties do not believe that

 9 there are any venue issues.

10 II.      Substance of the Action:

11          Plaintiff’s Statement

12          Challenge Printing is a pharmaceutical printing company that provides packaging

13 components such as labels, insert, folding cartons, and pouches to pharmaceutical manufacturers

14 worldwide. EFI is a company that develops technologies for the manufacturing of signage,

15 packaging, textiles, ceramic tiles, and personalized documents. Challenge Printing and EFI entered

16 into a written agreement whereby EFI agreed to provide Challenge Printing with its software

17 implementation services (“Professional Services”) and a license to use its iQuote software in

18 exchange for a payment from Challenge Printing (DE 23). The agreement was memorialized in an

19 Investment Summary (the “Investment Summary”) and a Purchase Order (the “Purchase Order”)

20 both of which are dated December 29, 2017 (collectively, the “Agreement”). (DE 23-3, DE 23-4).

21 In negotiations over the Agreement, EFI represented that it could and would provide software and

22 Professional Services that would grant Challenge Printing the ability to functionally use iQuote. (Id.

23 ¶ 117). Challenge Printing purchased the Professional Services in actual and justifiable reliance on

24 these representations. Id.

25          Challenge Printing alleges that EFI misrepresented the quality and abilities of its goods and

26 services throughout the Agreement negotiations before ultimately failing to provide Challenge

27 Printing functional software and Professional Services that would render iQuote functional. (DE 23

28 ¶ 107). Challenge Printing further alleges that EFI separately breached the Agreement by failing to

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 1 perform the agreed quantity of Professional Service hours and breach its implied obligation to make

 2 a good faith effort to provide its Professional Services in order for Challenge Printing to receive the

 3 benefit of its bargain. EFI failed its express and implied obligations under the Agreement by

 4 providing insufficient software and Professional Services to Challenge Printing. Challenge Printing

 5 seeks damages commensurate with the direct, actual, and foreseeable results of EFI’s

 6 misrepresentations and breach of contract, which includes compensatory damages and punitive

 7 damages.

 8          The principal factual issues in dispute include whether EFI misrepresented the quality and

 9 abilities of the iQuote software and its Professional Services, whether EFI failed to provide

10 functional iQuote software and/or sufficiently perform its Professional Services to render the iQuote

11 software functional, whether EFI failed its implied obligation to make a good faith effort to provide

12 Challenge Printing sufficient Professional Services so that Challenge Printing received functional

13 use of the iQuote software, and if Challenge Printing prevails, the amount of monetary damages to

14 which it is entitled.

15          Defendant’s Statement

16          EFI disputes Challenge Printing’s version of events and attributes Plaintiff’s complaints

17 about the software to Challenge Printing’s failure to cooperate in the implementation process of

18 the software, which Challenge Printing chose to abandon.

19 III.     Legal Issues:

20          Based on the current pleadings, the principal legal issues likely to be in dispute are:

21          a)     Whether Challenge Printing’s Terms and Conditions or EFI’s Terms and

22 Conditions (or some combination of both) is the operative agreement between the Parties.

23          b)     Whether EFI breached the terms of the operative agreement.

24          c)     Whether EFI intentionally and/or negligently made pre-contracting

25 misrepresentations to Challenge Printing.

26          d)     Whether EFI’s fraudulent conduct constitutes a violation of California Business and

27 Professions Code Section 17200.

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 1          e)      Whether EFI deceived Challenge Printing as that term is understood under

 2 California Civil Code Section 1709.

 3          f)      Whether Challenge Printing purchased the software product it contends

 4 misrepresentations relate to.

 5          g)      Whether EFI breached the covenant of good faith and fair dealing.

 6          h)      Whether Challenge Printing suffered any damages.

 7 IV.      Motions:

 8          Defendant previously filed a motion to dismiss the original complaint, which was granted in

 9 part and denied in part. (DE 22)

10          Defendant filed a Motion for Partial Summary Judgment directed to Plaintiff’s fraud claims

11 and Plaintiff’s prayer for punitive damages. The motion is fully briefed and set for an April 14,

12 2022 hearing.

13          Plaintiff has filed a Motion to Extend Discovery Cut-Off Dates, including motions to

14 compel, with such motion limited to Defendant’s financial condition. This motion is fully briefed

15 and set for an April 14. 2022 hearing.

16          The deadline for filing dispositive motions was February 1, 2022.

17 V.       Discovery:

18          Fact discovery is closed.

19 VI.      Settlement and ADR:

20          The parties had one unsuccessful court sponsored mediation on over two separate sessions,

21 on March 11 and April 21, 2021. (DE 36).

22          The parties are willing to attempt a second, private mediation, following a ruling on any

23 motion for summary adjudication/judgment.

24 VII.     Bifurcation and Separate Trial of Issues:

25          Plaintiff does not request bifurcation.

26          Defendant will make a motion for bifurcation of punitive damages, if such damages remain

27 in the case and are sought at trial.

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 1 VIII. Trial:

 2         This will be a jury trial. Defendant’s time estimate is 6-8 days. Plaintiff’s estimate is 5-6

 3 days.

 4 IX.     Scheduling

 5         No further modifications to the Case Management Schedule are proposed.

 6 X.      Other Matters:

 7         Defendant requests that the court set a further trial setting conference following the ruling

 8 on Defendant’s dispositive motion.

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10 DATED: April 1, 2022                        SAWYER & LABAR LLP

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12
                                               By:          /s/ Ivo Labar
13                                                   Ivo Labar
                                                     Attorneys for Defendant
14                                                   ELECTRONICS FOR IMAGING, INC.
15
     DATED: April 1, 2022                      KING & BALLOW
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17
                                               By:          /s/ Douglas R. Pierce
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                                                     Attorneys for Plaintiff,
25                                                   CHALLENGE PRINTING COMPANY

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 1                                     Local Rule 5-1(i)(3) Attestation

 2          Pursuant to Civ. L.R. 5-1(i)(3), I, Ivo Labar, attest that the other signatories listed, and on

 3 whose behalf this filing is submitted, concur in the filing content and have authorized the filing.

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 5 DATED: November 19, 2021                        SAWYER & LABAR LLP

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                                                   By:          /s/ Ivo Labar
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